 

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

 

Caption in compliance with D.N.J. LBR 9004-1(b)

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In Re: Case No.: __19-26762-ABA _
n Re:

Abbas Ali Nouri Moussavi & Hearing Date: _11/13/2019
Mehrnoush Shabani Judge: Andrew B. Altenbyy

 

 

 

NOTICE OF CHAPTER 13 PLAN TRANSMITTAL

The enclosed XM plan, L] modified plan is proposed by the debtor and was filed on

9/7/19 . It has been served on you because the plan contains motions
that may adversely affect your interest.

 

Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. This
Plan may be confirmed and become binding, and included motions may be granted without further
notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court
may confirm this plan, if there are no timely filed objections, without further notice. See Bankruptcy
Rule 3015. This plan includes motions to avoid or modify a lien, the lien avoidance or modification
may take place solely within the chapter 13 confirmation process. The plan confirmation order alone
will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to
avoid or modify a lien based on value of the collateral or to reduce the interest rate. An affected lien
creditor who wishes to contest said treatment must file a timely objection and appear at the
confirmation hearing to prosecute same.

 

 

X Real Property:

The debtor(s) has valued real property located at 26 Equestrian Road,

Egg Harbor Twp., New Jersey [address] at $ 260,000.00 . The

debtor(s) believes the first lien on the property to be in the approximate amount of $ 265,250.68

 
[insert other liens as appropriate]. As such, the debtor(s) believes there is inadequate equity available to

satisfy your lien and seeks through the plan to reduce, modify or eliminate your lien.

The debtor’s valuation of the property is based on: (a) comparative market analysis; (b) broker

price opinion; (c) appraisal; or (d) other: , acopy of

 

which is attached. All forms of relief sought by motion appear in Part 7 of the plan.

L] Personal Property:

The debtor(s) has valued personal property described as:
at $

 

 

The debtor(s) believes the lien on the property to be in the approximate amount of $
[insert other liens as appropriate]. As such, the debtor(s) believes there is inadequate equity available to

satisfy your lien and seeks through the plan to reduce, modify or eliminate your lien.

The debtor’s valuation of the property is based on: (a) broker price opinion; (b) appraisal; or (c)

other: - , a copy of which is attached. All forms of relief

 

sought by motion appear in Part 7 of the plan.

The Confirmation Hearing is scheduled for 11/13/2019 at 10:00 AM

Objections to any relief sought in the plan, including relief sought by motion, must be filed with the

Clerk of the Bankruptcy Court no later than 7 days prior to the confirmation hearing.
YOU SHOULD CONSULT WITH AN ATTORNEY PROMPTLY, SINCE ENTRY OF

AN ORDER OF CONFIRMATION WILL BIND YOU TO ALL OF THE TERMS OF THE
CONFIRMED PLAN.

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